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                    IN THE UNITED STATES DlSTRICT COURT
                   FOR THE WESTERN DISTRICT OF WlSCONSIN

 SCOTT BOEHM and DAVlD STLUKA,

          PJajntiff ,                               JUDGME TIN A CIVIL CASE

    V.                                                    a e No. 15-cv-3 79-jdp

 SCOTT SVEHLA, SCOTT'S BREWERY
 COLLECTIBLES, LUKE WEIN, BEYOND
 STUDIO + PUBLISHI~G LLC, GERALD
 MILLER and DAVlD DEWAYNE
 THOMASON d/b/a Fan4Ever,

          Defendants.


      This action came before the court for consideration with Di trict Judge
Jame D. Peter on presiding. The i sues have been considered and a deci ion has
been Tendered.


         IT IS ORDERED AND ADJUDGED tl1at judgm.ent i entered in favor of
defendants Scott Sv hla, Scott's Brewery Collectible , Luke Wein, Beyond Studio +
Publi hing, LLC and Gerald Miller against plaintiffs Scott Boehm and David Stluk:a
dismi sing plaintiff ' claims.

         IT IS FURTHER ORDERED AND ADJUDGED that judgn1ent is entered in
favor of plaintiffs Scott Boehm and David Stlu1 a against David D ewayn Thoma on
d/b/a Fan4Ever permanently enjoinjng defendant Thomason as follows:

   1. Defendant and any per on or entitie acting directly or indirectly on his

         behalf shall be and hereby are PERMANENTLY E JOINED and
         RESTRAINED from engaging in the following acts or practices:
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               a. reproducing, seUing, distribut ing, displaying or mal<lng any further uses
                    of plaintiffs' photographs identified in the complaint and/or derivatives
                    thereof;
               b. assisting, aiding or abetting any other person or entity in engaging or
                    performing any of the activities referred to in subparagraph (a) above.


     2. The claims against defendant Thomason are dismissed with prejudice and
          without attorney fees or costs.

     3. Defendant Thoma on will surrender any remaining infringing canvases in his
          possession, custody, or control to plafr1tiffs for destruction by September 12 ,

          2018.


     4. The court shaU retain jurisdiction to entertain such further proceedings a11d
          to enter such further orders as may be necessary or appropriate     to   implement
          and/or enforce any orders entered in this 1T1atter, including the Permanent
          Injunction, and defendant Thomason pecifically consents and submits to
          personal jurisdiction. and venue in the U.S. Di trict Court for the Western
          District of Wisconsin.
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    5. Upon proof of any violations by defendant Thomason of the provisions of this
         Permanent Injunction, the court shall be authorized to award damages and
         other relief, as provided by law.


Approved as to form this        /~7" day of August, 2018.


Jan~erson
District Judge



~a
Peter O p p e n e e r ~                               Date
Clerk of Court
